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THE HONORABLE RONALD B. LEIGHTON

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
WENDY SNELL, Parent and Guardian of No. 3:13-cv-5488-RBL
S.Y., and S.Y., a Minor,,
NORTH THURSTON SCHOOL DISTRICT’S
Plaintiffs, OPPOSITION TO PLAINTIFFS’ MOTION FOR
FEES AND COSTS
v.
NORTH THURSTON SCHOOL Date Noted for: May 2, 2014
DISTRICT, a Washington Municipal
Corporation,,
Defendant.

 

 

 

I. INTRODUCTION
The plaintiffs (“Parent” and “Student”) alleged that the defendant, North Thurston School

District (“District”) denied Student a free appropriate public education from Septeinber 2011
until mid-December 2011, when the Parent unilaterally withdrew the Student from the District
and enrolled the Student in another public school district, and that the District discriminated
and/or retaliated against the Parent and Student in violation of the Americans with Disabilities

Act, Section 504 of the Rehabilitation Act, and 42 U.S.C. § 1983. The following issues were

litigated in the administrative hearing:

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. Whether the District violated the procedural provisions of the IDEA and denied

the Student a free appropriate public education (“FAPE”) by failing to provide

prior written notice of a placement meeting on September 7, 2011?

. Did the District violate the procedural provisions of the IDEA and deny the

Student a FAPE by failing to provide prior Written notice of a functional

behavioral assessment?

. Did the District violate the procedural provisions of the IDEA and deny the

Student a FAPE by failing to provide prior written notice that supplemental

services would be removed from the Student's IEP on February 21, 2012?

. Did the District violate the procedural provisions of the IDEA and deny the

Student a FAPE by failing to give reasonable notice of the Student's transfer from

Meadows Elementary to Lacey Elementary School?

. Did the District violate the procedural provisions of the IDEA and deny the

Student a FAPE by conducting an IEP meeting on or about January 9, 2012,

without adequate attempts to involve the Parents?

. Did the District violate the substantive provisions of the IDEA and deny the

Student a FAPE by failing to provide a qualified person to monitor the Student's

blood sugar level every two hours at school?

. Did the District violate the substantive provisions of the IDEA and deny the

Student a FAPE by failing to provide the Student with diabetes-related
accommodations recommended by the Student's medical team; preferential

seating; and a functioning amplifier?

. Did the District violate the substantive provisions of the IDEA and deny the

Student a FAPE by providing the Student an inappropriate BIP?

. Did the District violate the substantive provisions of the IDEA and deny the

Student a FAPE by interfering with the Parent’s participation rights by telling the

 

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father of the Student that the Student was no longer welcome at school;
suspending the Student for two days without ascertaining whether the conduct
that led to the suspension was related to the Student's blood sugar level; acting in
a hostile manner in the Student's presence, resulting in the Student suffering
anxiety and not wanting to attend school?
In addition, the Parent sought compensatory education in the form of tutoring for the Student in
the amount of ten hours per week for three years (1,5 60 hours), as well as a prospective
placement that included tutoring of ten hours per week. In essence, the Parent sought 20 hours
of tutoring per week, 10 hours in the form of compensatory education and 10 hours as part of the
Student’s prospective placement
The District prevailed on five of the nine issues litigated Although the Parent was
awarded compensatory education of 520 hours, the Administrative Law Judge denied the
Parent’s request for prospective relief and awarded compensatory education of 520 hours of
tutoring rather than 1,560 hours of tutoring.l n
The Parent filed a Complaint for Recovery of Attorney Fees and Costs on June 18, 2013.
The District filed an Answer and Counterclaim on July 18, 2013. This Court affirmed the
decision of the Administrative Law Judge and the Parent has now filed a motion for fees and
costs pursuant to 20 U.S.C. § 1415(i)(3)(B) in the amount of $184,833.20. The Parent’s request
should be denied in substantial part for the reasons specified below. In the alternative, the
District requests that the Court defer ruling on the Parent’s motion for fees and costs during the

pendency of the District’s appeal to the Ninth Circuit.

 

l The award of 520 hours of tutoring is much closer to the settlement offer the District made to the Parent
on April 9, 2012, than to the 1,560 hours of tutoring demanded as compensatory relief in the Parent’s due process
complaint _SLe Declaration of Philip A. Thompson in Opposition to Motion for Fees and Costs, 1[4.

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II. ARGUMENT AND AUTHORITIES
A. Plaintiffs’ Fees Should Be Reduced

The IDEA provides that a court “in its discretion, may award reasonable attorneys’ fees
as part of the costs to a prevailing party who is the parent of a child with a disability.” 20 U.S.C.
§ 1415(i)(3)(B)(i). This language is neither automatic nor mandatory, and is “within the sound
discretion of the district court.” Johnson v. Bismarck Pub. Sch. Dist., 949 F.2d 1000, 1003 (8th
Cir. 1991); § z_tls_o Jason D.W. v. Houston Indep. Sch. Dist., 158 F.3d 205 (Sth Cir. 1998)
(holding that “[a] finding that a party is a prevailing party only makes them eligible to receive
attorneys’ fees under the IDEA; it does not automatically entitle him to recover the full amount
he spent on legal representation”). Further, the Supreme Court has found that where a plaintiff
has achieved only partial success, “the district court should award only that amount of fees that is
reasonable in relation to the results obtained.” Hensley v. Eckhart, 461 U.S. 424, 433 (1983).
There are many considerations that may warrant a reduction in a fee award, and courts are
afforded discretion in determining the amount of fees that are reasonable under the

circumstances The Supreme Court explained:

There is no precise rule or formula for making these
determinations The district court may attempt to identify specific
hours that should be eliminated, or it may reduce the award to
account for the limited success, The court necessarily has
discretion in making this equitable judgment

He_ns£y, 461 U.S. at 436-37.

In this case, the plaintiffs did not prevail on the majority of their IDEA claims, failed to
establish that the District engaged in intentional discrimination, failed to establish that the
District engaged in retaliation, failed to achieve their request for prospective relief, and achieved
only a modest portion (520 hours of tutoring) of their request of 1,560 hours of compensatory
education (33% recovery).

ln addition, a fee applicant bears the burden of providing sufficiently detailed time

records to support a petition for attorneys’ fees. Hensley, 461 U.S. at 437. A party cannot shift

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this responsibility to the party opposing the fees. When a fee applicant fails to adequately
document the fees claimed, a court may reduce the fee award accordingly. I_d. at 433.

Here, the plaintiffs’ seek to recover paralegal fees in the amount of $15,925.00, but
provide no indication whatsoever of the nature of the services actually performed by the
paralegals (Francisco and Calvo). Consequently, neither the District nor the Court has the ability
to determine if the nature of the tasks performed was administrative, clerical, secretarial, word
processing or substantive paralegal work. Accordingly, the plaintiffs’ request for reimbursement
of paralegal fees should be disallowed

The descriptions of the work performed by the attorney for the plaintiffs are so general
and vague in nature that they do not permit meaningful review by either the District or the Court.
The entries lack sufficient detail to evaluate the extent to which hours should be excluded as
excessive, redundant, unnecessary, or related to unsuccessful claims2 The unreasonable nature
of the plaintiffs’ attomeys’ fees request can be readily discerned by comparing the attorneys’
fees incurred by the plaintiffs with those incurred by the District. The plaintiffs seek a recovery
of $97,661 .25 for fees incurred from the inception of the case through the completion of the
administrative hearing (2/24/ 12 - 5/6/13). In contrast, the District’s attorneys’ fees from the
inception of the case through submission of post-hearing briefs (March l, 2012 through April 30,
2013) total $66,600. Declaration of Philip A. Thompson in Opposition to Motion for Fees and
Costs (“Thompson Declaration”), 1|6. The plaintiffs seek a recovery of $68,598.75 for fees they
have incurred for the appeal (5/15/13 through 4/3/14). The attorneys’ fees incurred by the
District for the period from May l, 2013, through April 30, 2014 total $33,756.00. Thompson
Declaration, 1[7.

Although it is difficult to review the entries of plaintiffs’ counsel in a meaningful manner
since they lack sufficient detail, the District believes the following adjustments, at a minimum,

should be made to plaintiffs’ request:

 

2 For example, there are repeated entries that simply state, “Prepare for hearing”, with no other descriptor.

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¢ The 51 hours expended preparing for the cross examination of District witnesses
is excessive and should be reduced. The hearing itself was only 5‘/2 days.
0 The 5.1 hours expended researching the retaliation claim/issue should be
disallowed.
v The 20 hours expended preparing documents/exhibits for hearing is excessive
The documents used for hearing were existing District records that did not require
preparation.
¢ The 31.5 hours expended preparing the mother, father, and grandmother for
testimony is excessive and should be reduced.
0 The 65 hours expended to review the administrative record and draft a 24 page
post-hearing brief is excessive and should be reduced.
III. CONCLUSION
Because the plaintiffs prevailed only in part, any award of attomeys’ fees should be at a
figure substantially lower than the plaintiffs’ request. For the above stated reasons, the District
respectfully requests that this Court award the plaintiffs substantially less than the amount

requested or defer its ruling on attorneys’ fees pending a final appeal of this action.

DATED: April 22, 2014 By: MpA_.T_IMpS_OQ
Philip A. Thompson #12857
Attomeys for Defendant North Thurston School
District
Perkins Coie LLP
The PSE Building
10885 N.E. Fourth Street, Suite 700
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CERTIFICATE OF SERVICE

I hereby certify that on April 24, 2014, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the

following: Susan Mindenbergs, Attomey at Law, 119 First Ave So. Ste. 200, Seattle, WA

g 98104-2564, smindenbergslaw@j uno.com.

DATED: April 24, 2014 By: s/ Debbie Coker
Debbie Coker

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